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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                            )
HON. BENNIE G. THOMPSON, in his             )
personal capacity,                          )
2466 Rayburn House Office Building          )
U.S. House of Representatives               )
Washington, DC 20515                        ) Civil Action No. 1:21-CV-00400-APM
                                            )
Plaintiff,                                  )
                                            )
v.                                          ) JURY TRIAL REQUESTED
                                            )
DONALD J. TRUMP, solely in his personal )
capacity                                    )
Mar-A-Lago                                  )
1100 S. Ocean Blvd.                         )
Palm Beach, Florida 33480-5004,             )
                                            )
RUDOLPH W. GIULIANI,                        )
Rudolph W Giuliani, PLLC                    )
445 Park Ave FL 18                          )
New York, NY 10022-2606                     )
                                            )
PROUD BOYS INTERNATIONAL, L.L.C., )
c/o Jason L. Van Dyke                       )
108 Durango Dr., Crossroads, TX, 76227, and )
                                            )
OATH KEEPERS,                               )
Attn: Stewart Rhodes                        )
1030 E. Hwy 377                             )
Ste 110-285                                 )
Granbury, TX 76048                          )
4625 West Nevso Drive, Suite 2 & 3          )
Las Vegas, NV, 89103                        )
                                            )
Defendants.


       PLAINTIFF’S MOTION FOR LEAVE TO FILE AMENDED COMPLAINT

       Pursuant to Rule 15(a)(2), Fed. R. Civ. P. and Local Civil Rule 7(i), Plaintiff Bennie

Thompson hereby seeks leave to amend the original complaint in this action. Plaintiff has sought
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and obtained the consent of Defendants Rudolph W. Giuliani and Oath Keepers to this

amendment and, as of the filing of this motion, has not received consent from Defendant Donald

J. Trump.

       This action was filed on February 16, 2021. Defendant Trump was served on February

23, 2021, Defendant Giuliani was served on February 25, 2021, and Defendant Oath Keepers

was served on March 2, 2021. Two attempts were made to serve Defendant Proud Boys

International, L.L.C. through its registered agent, Jason L. Van Dyke, on March 5 and March 10,

2021, but those attempts were unsuccessful, and Proud Boys International, L.L.C. dissolved as a

legal entity six days before this action was commenced. No counsel has entered an appearance

for this Defendant.

       In order to afford Defendants additional time to respond to the amended complaint,

Plaintiff has proposed that Defendants be provided an additional 30 days, until May 26, 2021, in

which to answer or otherwise respond to the amended complaint. Pursuant to Local Rule 15.1, a

copy of the proposed amended complaint is attached.

       Since the original complaint was filed in this action, several developments have occurred

which lead Plaintiff to seek leave to amend his complaint. As Plaintiff has proposed a 30-day

extension of time for Defendants to answer or otherwise respond to the complaint, none of the

Defendants will be prejudiced by the filing of the amended complaint.

       First, because Proud Boys International, L.L.C. was dissolved before this lawsuit was

filed, the amended complaint names two additional defendants who are closely associated with

the Proud Boys organization: War Boys LLC, which worked in conjunction with the Proud Boys

and whose leadership is identical to the leadership of the Proud Boys, and Enrique Tarrio,

Chairman of the Proud Boys and an alter ego of both Warboys and Proud Boys. These proposed




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defendants would be served with the amended complaint. By this amendment, Plaintiff seeks to

ensure that the organization that was known as the Proud Boys on January 6, 2021 and others

closely associated with it will be accountable for the conduct alleged in the complaint.

       Second, ten Members of Congress have expressed an interest in joining this action and

seek to do so at this juncture in the litigation. They are named in the proposed amended

complaint.

       Third, the amended complaint incorporates additional information about the events that

occurred before and on January 6, 2021, obtained from a variety of sources that further detail the

roles of the respective Defendants in the actions alleged to violate 42 U.S.C. § 1985(1), on which

this action is based. This additional information should be of assistance to the Court as it

considers the answers or other pleadings that Defendants may file.

       A proposed order is attached which would grant leave to file the amended complaint and

would direct that Defendants’ answers or other responses to the amended complaint be due on or

before May 26, 2021.


Dated: April 7, 2021


Respectfully submitted,

/s/ Janette Louard                             /s/ Joseph M. Sellers
Janette Louard (pro hac vice motion to be      Joseph M. Sellers, Bar No. 318410
filed)                                         Brian Corman, Bar No. 1008635
Anthony P. Ashton, Bar No. MD0096              Alison S. Deich, Bar No. 1572878 (motion for
Anna Kathryn Barnes, Bar No.                   admission pending)
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                                 CERTIFICATE OF SERVICE


       I hereby certify that on April 7, 2021, Plaintiffs’ “Motion for Leave to File Amended

Complaint” was served on counsel of record via the Court’s CM/ECF system in accordance with

this District’s Procedures for Electronic Filing.



                                                     /s/ Joseph M. Sellers
                                                    Joseph M. Sellers
